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Vía ECF

Magistrate Judge Anne Y Shields
United States District Court
Long Island Courthouse
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722



Re: USA v Anthony Cyntje 2:21 Cr 00452-005 (AYS).

Magistrate Judge Shields:

I represent defendant Anthony Cyntje in the above captioned matter. I am writing this
letter to respectfully request you consider a supplemented Bail Package.

As you are aware Mr. Cyntje had his initial appearance in the Eastern District of New York
on October 13, 2021 on Conspiracy to Possess and Distribute Heroin, Fentanyl, Cocaine and
Use of Firearms in Connection with a Drug Trafficking Crime.

Even though this in fact a “Presumption of Detention” case Pre-Trial Services did conclude
there were in fact a recommendation of Bail to wit:

                     1. Report to Pre-Trial Services as Directed.
                     2. Travel Restriction.
                     3. Random home and employment visits.
                     4. Passport Surrender
                     5. Firearms surrender.
                     6. No contact with codefendants or coconspirators.
                     7. Location and monitoring and curfew.

Pre-Trial clearly recognized Mr. Cyntje’s lack of criminal history and employment record.
Although he was a NJ Corrections Officer at the time of his arrest, he has continued to work
at MPS Security on NJ and still has his job waiting.

The Government with its usual candor and honor represents that although this was a
sprawling and heavyweight conspiracy Mr. Cyntje was involved only one single day. There
was an additional representation that this wasn’t his only contact with drug activity- he
only allegedly participated in one single transaction.

Also noteworthy is the fact that the Government has informed the defendant and counsel
that although he was liberty on his Suffolk County Case involving the same transaction- Mr.
Cyntje was aware a Federal indictment was imminent.
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The arresting Agents sought to execute the arrest warrant at Mr. Cyntje’s home while he
was at his long-time girlfriends home.

He nonetheless surrendered as he was never a flight risk and as he only possessed his
service weapon similarity not a danger to the community.

Therefore, Mr. Cyntje offers the following Bail Package that will guarantee his appearance
to Court.
    1. Electronic monitoring with GPS and home confinement to his home at
       189 Sherman Street Perth Amboy NJ 08861. His family installed a land line with
       number 732-486-8156.

   2. Posting of his father’s sole home and assert located at 381 Highland Avenue, Passaic
      NJ. The current market value of the home is $520,000.00 the existing equity is
      $220,000.00.

   3. A $250,000.00 personal recognizance bond signed by (3) Financially responsible
      persons:
            A.     Jenny Pepin 973-978-4061.
                   Ms. Pepin is employed by the Hudson County Department of
                   Education and earns $47,000.00 per year.

              B.     Alondra Morillo- 732-771-1599
                     Ms. Morillo is employed by Amazon and earns $25,000.00 per year.

              C.     Efrain Cyntje- 742-941-9448.
                     Mr. Cyntje is employed by Cast and Crew Co. as a Chauffeur and earns
                     $119,000.00 per year.

   4. Strict Pre Trial Supervision with maintained employment.

Any other conditions this Court seems appropriate would not be considered onerous.
Thank you for your time and consideration in this matter.

                            I remain,


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